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communications without notice to the subscriber or customer, if the records are relevant and

material to an ongoing criminal investigation.

       4.        Specifically, 18 U.S.C. § 2703(c)(1) provides in pertinent part:

       A government entity may require a provider of electronic communication service
       or remote computing service to disclose a record or other information pertaining to
       a subscriber to or a customer of such service (not including the contents of
       communications) . . . when the governmental entity–
       ....
       obtains a court order for such disclosure under subsection (d) of this section;
       ....
       5.     18 U.S.C. § 2703(d), in turn, provides (in pertinent part):

       A court order for disclosure under subsection . . . (c) may be issued by any court
       that is a court of competent jurisdiction and shall issue only if the governmental
       entity offers specific and articulable facts showing that there are reasonable grounds
       to believe that the . . . records or other information sought, are relevant and material
       to an ongoing criminal investigation.

As specified in 18 U.S.C. § 2711(3), this Court is a court of competent jurisdiction under the

Stored Communications Act because it has jurisdiction over the offenses being investigated, as

defined below.

       6.        In addition, 18 U.S.C. § 2703(c)(3) provides:

       A governmental entity receiving records or information under [18 U.S.C.
       § 2703(c)] is not required to provide notice to a subscriber or customer.

       7.        Finally, 18 U.S.C. § 2705(b) authorizes the Court to issue an order commanding a

provider of electronic communications service or remote computing service to whom a warrant,

subpoena, or court order is directed, for such period as the court deems appropriate, not to notify

any other person of the existence of the warrant, subpoena, or court order. The court shall enter

such an order if it determines that there is reason to believe that notification of the existence of

the warrant, subpoena, or court order will result in—

                 (1) endangering the life or physical safety of an individual;

                 (2) flight from prosecution;

                                                   2



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               (3) destruction of or tampering with evidence;

               (4) intimidation of potential witnesses; or

               (5) otherwise seriously jeopardizing an investigation or unduly delaying a
                   trial.

18 U.S.C. § 2705(b)(1)-(5).

        8.     As set forth below, there are specific and articulable facts showing that there are

reasonable grounds to believe that the records sought herein are relevant and material to an ongoing

investigation of possible theft of federal funds and wire fraud, and conspiracy to commit the same,

in violation of 18 U.S.C. §§ 371, 666, 1343, and 1349 (the “Subject Offenses’), among other

statutes.

                                            Background

        9.     Since in or about August 2021, the Office of the United States Attorney for the

Southern District of New York and the Federal Bureau of Investigation have been investigating

the possible receipt of so-called “straw” donations by the 2021 New York City mayoral

campaign of Eric Adams (the “Adams Campaign”). A straw, or “conduit,” donation occurs

when a donation to a political campaign is made in the name of one donor, but the funds in

question in fact belong to a different person.

        10.    I understand, based on my review of publicly available information, that:

               a.      The Adams Campaign accepted matching funds from the New York City

Campaign Finance Board throughout a significant part of its campaign (“Matching Funds”),

meaning that the Adams Campaign received funds from the New York City government as a

result of donations the Adams Campaign received from private donors. 1


1
        See, e.g., https://www.ny1.com/nyc/all-boroughs/news/2021/10/08/eric-adams-is-taking-
a-rare-step--turning-down-campaign-cash (reporting on the Adams Campaign’s prior acceptance
of matching funds and decision to turn down some matching funds as of October 7, 2021);
https://www.nyccfb.info/VSApps/CandidateSummary.aspx?as_cand_id=1545&as_election_cycl
                                                3



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                                              Request

       12.     The Government further requests, pursuant to 18 U.S.C. § 2705(b), that this

Application and the proposed Order be sealed by the Court until such time as the Court directs

otherwise, and that the Provider be ordered not to notify any person (including the subscribers

associated with the Subject Accounts) of the existence of the Order for a period of one year from

the date of the Order, subject to extension if necessary. Among other things, the targets of this

investigation are known to use computers and electronic communications in furtherance of their

activity and thus could easily delete, encrypt, or otherwise conceal such digital evidence from law

enforcement were they to learn of the Government’s investigation. See 18 U.S.C. § 2705(b)(3).

       13.     Consequently, there is reason to believe that notification of the existence of the

Order will seriously jeopardize the investigation, including by giving targets an opportunity to

flee or avoid prosecution, or tamper with evidence, including electronically stored information

that is easily tampered with or destroyed. Accordingly, the Government believes that one year

is an appropriate additional delay of notice period for the Court to order, subject to extension

upon further application if necessary.

       14.     Finally, based on my training and experience, I understand that the Provider may

request that the Government seek data related to an enterprise such as         which would include

data relating to the Subject Accounts, directly from the enterprise, pursuant to the U.S. Department

of Justice Policy titled Seeking Enterprise Customer Data Held by Cloud Service Providers,

December 2017, available at https://www.justice.gov/criminal-ccips/file/1017511/download.

However, pursuant to that policy, because        appears to be solely controlled by the Subjects of

this investigation as set forth above who would be in a position to delete, encrypt, or otherwise

conceal the requested data if alerted to the Government’s investigation, I respectfully request that

the proposed order specifically require the Provider to produce enterprise data.

                                                 6



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       15.    No prior request for the relief sought herein has been made.

       16.    I declare under penalty of perjury that the foregoing factual assertions are true and

correct to the best of my knowledge and belief.

Dated: New York, New York
       December 20, 2021
                                            ________________________________
                                            Hagan Scotten
                                            Assistant United States Attorney
                                            212-637-2410




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                   21 MAG 12196
 IN RE APPLICATION OF THE UNITED
 STATES OF AMERICA FOR ORDER TO
 DISCLOSE NON-CONTENT INFORMATION                               TO BE FILED UNDER SEAL
 PURSUANT TO 18 U.S.C. § 2703(d)

                                              ORDER

       This matter having come before the court pursuant to an application under Title 18,

United States Code, Section 2703, which application requests the issuance of an order under

Title 18, United States Code, Section 2703(d) directing Google LLC (the “Provider”), to disclose

certain records and other information, the Court finds that the applicant has offered specific and

articulable facts showing that there are reasonable grounds to believe that the records or other

information sought are relevant and material to an ongoing criminal investigation.

       IT APPEARING that the information sought is relevant and material to an ongoing

criminal investigation, and that disclosure to any person of this investigation or this application

and order entered in connection therewith would seriously jeopardize the investigation,

       IT IS ORDERED, pursuant to Title 18, United States Code, Section 2703(d), that the

Provider will, within ten days of the date of this Order, turn over to federal law enforcement

agents the records and other information as set forth in Attachment A to this Order, including

any data for enterprise accounts.




                                                  1




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